               Case 1:19-cv-00143-LAG                      Document 1-4          Filed 08/22/19         Page 1 of 2



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITBn STETBS DTSTNTCT COURT
                                                                   for the

                                                         Middle District of Georgia


  RONALD LYNN LIPSCOMB and AMY MICHELLE                               )
                 LIPSCOMB                                             )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )      Civil Action No.
                                v
                                                                      )
      MATTHEW TUCKER DODSON, BERRY C.                                 )
        DODSON, and JAMES A. HAMMETT                                  )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVI ACTION

To: (Defendant's name and address) James A. Hammeft
                                   4021 Georgia Highway 111 South
                                           Cairo, Georgia 39828




          A lawsuit has been filed against you.

        Within 2l days after service of this summons on you (not counting the day you received it)                 or 60 days if you
are the United  States or a  United States agency, or an  officer or  employee   of the  United  States
                                                                                                              -
                                                                                                         described    in Fed. R' Civ.
P. 12 (a)(2) or (3)    you   must serve on the plaintiff an answer   to the attached  complaint   or  a motion  under     Rule 12 of
the Federal  Rules  -
                    of Civil Procedure.  The  answer  or  motion  must   be served  on  the plaintiff or plaintiff  s  attomey,
whose name and address are: James R. Miller
                                           Langdale Vallotton, LLP
                                           P.O. Box 1547
                                           Valdosta, Georgia 31 603-1 547



          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERKOF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk
                Case 1:19-cv-00143-LAG                      Document 1-4          Filed 08/22/19                Page 2 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No

                                                        PROOF OF SERVICE
                       (This section should not be ftled with the court unless required by Fed. R. Civ. P. 4 0)

           This summons for @ame of individual and title, if any)      JAMES A. HAMMETT
 was received by me on (date)


           D I personally served the summons on the individual at (place)
                                                                                 on (date)                             ;or

           D I left the summons at the individual's residence or usual place of abodewith @ame)
                                                                  , a person ofsuitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           D I served the summons on (name of individual)                                                                       , who is

            designated by law to accept service ofprocess on behalf of (name oforganization)
                                                                                 on (date)                             ;or

           D I returned the summons unexecuted because                                                                               ;or

           ll Other 6pecify):


           My fees are $                           for travel and $                  for services, for a total of$            0.00


           I declare under penalty of pedury that this information is true.



 Date
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc
